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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                                    :
  INGRID RAGANOVA,                                  : Civil Action No.: 2:24-cv-09096
                                                    :
                           Plaintiff,               :
  v.                                                :
                                                    :     STIPULATION OF DISMISSAL
  UNITED AIRLINES, INC., UNITED                     :     WITHOUT PREJUDICE AS TO
  AIRLINES HOLDINGS, INC., GARRETT                  :   DEFENDANT UNITED AIRLINES
  FOSTER, STACY KATZ, & JOHN DOES                   :             HOLDINGS, INC.
  1-100,                                            :
                     Defendants.                    :


        IT IS HEREBY STIPULATED AND AGREED, by and between the parties and their

 respective counsel, that the above-captioned be and hereby is dismissed as to Defendant United

 Airlines Holdings, Inc. only, without prejudice and without costs or fees to either party, pursuant

 to the Federal Rule of Civil Procedure 41(a)(1)(A)(ii).


  CASTELLANI LAW FIRM LLC                                  NUKK-FREEMAN & CERRA, P.C.


  By: __                                _________          By: ___________________________
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  Dated: 1/15/2025                                             Dated: 1/15/2025
